    Case 3-04-17409-rdm           Doc 10    Filed 01/18/05 Entered 01/18/05 10:12:44                 Desc Main
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                                          United States Bankruptcy Court
                                           Western District of Wisconsin
                                         Federal Building U. S. Courthouse
                                                  P. O. Box 5009
                                               Eau Claire, WI 54702



                                             Marcia M. Anderson, Clerk
                                                  715−839−2980



Sun Jan 16, 2005

Nicholas Ripley
142 Thomson Ln
Oregon, WI 53575


Re: 3−04−17409−rdm

Dear Nicholas Ripley:

This is a reminder that the filing fee is due 02/14/2005 in the above entitled matter. Please refer to the Order
Approving Application to Pay Filing Fee in Installments previously entered. The entire filing fee must be paid before
a discharge can be granted and the case closed.

Unless the fee is paid by certified check or money order, made payable to the Clerk, U. S. Bankruptcy Court, on or
before 02/14/2005, this bankruptcy proceeding will be placed on the calendar for dismissal.

Sincerely,




Marcia M. Anderson
Clerk
